Case 22-12858-JDW        Doc 14    Filed 12/06/22 Entered 12/06/22 08:37:52          Desc Main
                                  Document      Page 1 of 2



                IN THE UNITED STATES BANKRUPTCY COURT FOR
                    THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                CHAPTER 13 CASE NO.:

QUINTIN LONG                                                                    22-12858-JDW

                              OBJECTION TO EXEMPTIONS

       COMES NOW Locke D. Barkley, the Chapter 13 Trustee (the “Trustee”), by and through

counsel, and objects to the Debtor’s claimed exemptions as follows:

       The Debtor failed to provide the amount of the exemption claimed for the 75” TV, 55” TV,

42” TV, and Sound Bar.

       WHEREFORE, PREMISES CONSIDERED, the Trustee requests that this Court enter its

order sustaining the Objection and ordering that the above-referenced property claimed as exempt

be disallowed. The Trustee prays for other such general and specific relief that this Court may

deem just.

       Dated: December 6, 2022.

                                            Respectfully submitted,

                                            LOCKE D. BARKLEY
                                            CHAPTER 13 TRUSTEE

                                    BY:     /s/ Melanie T. Vardaman
                                            MELANIE T. VARDAMAN (MSB# 100392)
                                            W. Jeffrey Collier (MSB 10645)
                                            Attorneys for the Chapter 13 Trustee
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                                               1
Case 22-12858-JDW        Doc 14     Filed 12/06/22 Entered 12/06/22 08:37:52             Desc Main
                                   Document      Page 2 of 2



                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that I either
mailed by United States Postal Service, first class, postage prepaid, or electronically notified
through the CM/ECF system, a copy of the above and foregoing to the Debtor, attorney for the
Debtor, the United States Trustee, and other parties in interest, if any, as identified below.

       Dated: December 6, 2022

                                      /s/ Melanie T. Vardaman
                                      MELANIE T. VARDAMAN




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